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 9                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
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     SHIVA STEIN,                              )   3:19-cv-04203-MMC
12                                             )
                   Plaintiff,                  )   NOTICE OF VOLUNTARY DISMISSAL
13                                             )
                                               )
     v.                                        )
14
                                               )
15   SHUTTERFLY, INC., THOMAS D.               )
     HUGHES, WILLIAM J. LANSING, EVA           )
16   MANOLIS, ANN MATHER, RYAN                 )
     O’HARA, ELIZABETH S. RAFAEL,              )   JUDGE: Hon. Maxine M. Chesney
17   ELIZABETH SARTAIN, H. TAYLOE              )   CTRM: 7 – 19th Floor
     STANSBURY, SWETTE, MICHAEL P.             )
18   ZEISSER,                                  )
                                               )
19                         Defendants.         )
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                                                                  Case No. 3:19-cv-04203-MMC
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 1            PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),
 2   plaintiff Shiva Stein (“Plaintiff”) hereby voluntarily dismisses the above-captioned action (the
 3   “Action”) with prejudice. Defendants have filed neither an answer nor a motion for summary
 4   judgment. Plaintiff’s dismissal of the Action is therefore effective upon the filing of this notice.
 5   Plaintiff requests that this Court retain continuing jurisdiction for purposes of entertaining a
 6   mootness fee application, if any, which will be filed under this case number.
 7
 8   DATED: August 16, 2019                             WOLF HALDENSTEIN ADLER
                                                        FREEMAN & HERZ LLP
 9
10                                                      By:    /s/ Rachele R. Byrd
                                                             RACHELE R. BYRD
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